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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                      Plaintiff,

vs.                                                 Criminal No. 11-CR-1524-JB

IRA LEWIS LEWELLEN,

                      Defendant.

                 DEFENDANT’S SENTENCING MEMORANDUM

       COMES NOW Defendant Ira Lewis Lewellen, by and through his undersigned

counsel, and offers this Sentencing Memorandum in anticipation of his April 25, 2012

sentencing hearing.

       Mr. Lewellen would respectfully urge the Court to consider that in the particular

circumstances of this case, without in any way minimizing the seriousness of the offense

of conviction, imprisonment for the term contemplated by the advisory guideline range,

or any term additional to the eleven (11) months already served, would be “greater than

necessary” to achieve the purposes of sentencing set forth in 18 U.S.C. § 3553(a).

       Mr. Lewellen is just 25 years old and has no prior convictions. He respectfully

submits that the purposes of sentencing set forth in 18 U.S.C. §3553(a) can be achieved

by sentencing him to a split sentence, consisting of time served and either probation or

supervised release, including a condition that he obtain appropriate treatment for his

serious mental health issues.




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 A. Comments on Pre-Sentence Report & Computing Guideline Sentencing Range

       There is no dispute that Mr. Lewellen has neither adult criminal convictions nor

juvenile adjudications.     Therefore, under the advisory United States Sentencing

Guidelines (“USSG”) (2011), Mr. Lewellen has 0 criminal history points and falls within

Criminal History Category I. Pre-Sentence Report (hereinafter “PSR”) ¶¶ 26-28.

       Mr. Lewellen does not dispute that the USSG provide for a base offense level of

22 for the offense of conviction, pursuant to §2.D.1.1(c)(9). See PSR, ¶18. Mr. Lewellen

agrees with (and appreciates) the Probation Officer’s conclusions that:

       (i)     he has satisfied the criteria for the “safety valve” and is therefore entitled

to a two-level reduction, pursuant to 18 U.S.C. §3553(f), USSG §5C1.2 (1) – (5) and

§2.D.1.1(b)(16), see PSR, ¶19;

       (ii)    he is a minor participant and is therefore entitled to a further two-level

reduction, pursuant to USSG §3B1.2, see PSR, ¶21; and

       (iii)   having pled guilty to the Indictment and submitted a written statement

incorporating by reference his factual admissions in the Plea Agreement at ¶8, he has

“fully and unreservedly accept[ed] responsibility for this offense” and is entitled to a

three-level reduction, pursuant to USSG §3E1.1., see PSR, ¶24, (First) Addendum to PSR

submitted February 7, 2012, and attached Defendant’s Statement of Acceptance of

Responsibility.

       Mr. Lewellen also appreciates that the Government has not objected to any of the

above characteristics and adjustments identified by the Probation Officer.

       In his statement of acceptance, Mr. Lewellen did not minimize the seriousness of

his offense. Indeed, he recognized that his agreeing to carry this package for a friend of a




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friend was “probably the most stupid decision of [his] life”. Defendant’s Statement of

Acceptance of Responsibility, at 2 (page 2 of the attachments to (First) Addendum to

PSR). The Court will note that Mr. Lewellen did not initially agree to carry the package

but was pestered into doing so, and succumbed to the proposal to raise the money for the

deposit for an apartment and to properly provide for Kamaree, the child he treats as his

son. The Court will also note that Mr. Lewellen not only did not receive any payment for

his role, but actually had to spend his own money for the bus trip from Oakland to the

Los Angeles Amtrak Station.

       Mr. Lewellen does not dispute that, under the USSG, the adjusted offense level of

15 and Criminal History category of I produces an advisory guideline imprisonment

range of 18 to 24 months. PSR, ¶61. Mr. Lewellen appreciates that, prior to his

psychological evaluation, the Government was prepared to stipulate to a sentence at the

low end of the guideline range. Plea Agreement, at 6, ¶10.c..

       Mr. Lewellen notes that, pursuant to statute, 18 U.S.C. §3561, he is eligible for

probation for the offense, PSR, ¶65. However, the guidelines do not authorize probation

because his advisory guideline imprisonment range falls within Zone D of the Sentencing

Table. PSR, ¶67. Nevertheless, as appears more fully below, Mr. Lewellen respectfully

submits that there are exceptional circumstances in his case which support an additional

downward variance in his sentence, circumstances that are sufficiently compelling to

warrant varying downward by at least four (4) levels to offense level 11.   If the Court

approves such a variance, under the USSG, the further adjusted offense level of 11 and

Criminal History category of I produces an advisory guideline imprisonment range of 8

to 14 months. Under this computation, Mr. Lewellen has already served a median




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sentence of 11 months.      The Court could therefore consider immediate supervised

release. Alternatively, after the variance, the advisory guideline imprisonment range falls

into Zone B of the USSG Sentencing Table, such that the guidelines authorize probation.

The Court will note that, because Mr. Lewellen has satisfied the criteria for the safety

valve, the term of probation or supervised release is not required to be a mandatory

minimum of three (3) years, but can be between one (1) and three (3) years. PSR ¶¶63-

64.

      B. Grounds under USSG for Variance from Guideline Sentencing Range

       In the original PSR, the Probation Officer has already identified at least one basis

for a variance, namely Aberrant Behavior, pursuant to USSG §5K2.20. Further support

for this conclusion can be found in the April 9, 2012 Psychological Report (“Report”) of

forensic psychologist Samuel Roll, Ph.D., as well as the nine (9) letters of reference

submitted by both family members and others in the community, who know that this

offense is wholly out of character for Mr. Lewellen.

       Mr. Lewellen would respectfully submit that the Court might consider the

following additional factors recognized by the USSG, which are also supported by the

Report and the letters.

       Mr. Lewellen is only aged 25, with no criminal experience and, as Dr. Roll

discovered, “naïveté, and his natural sensitivity and vulnerability [which] put him at high

risk for victimization by others.” Report, at 2 ¶5. USSG §5H1.1 (Age).

       Mr. Lewellen also suffers from mental and emotional conditions relevant to

sentencing under USSG §5H1.3. Dr. Roll diagnosed Mr. Lewellen as suffering from a




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major depressive disorder, an anxiety disorder, and attention deficit disorder, none of

which have received appropriate treatment to date. Report, at 1, ¶1, and 2 ¶4.

       Mr. Lewellen also suffers from a physical condition relevant to sentencing under

USSG §5H1.4., in that he has been experiencing elevated blood pressure at the young age

of 25. PSR, ¶¶41-42.

       Finally, USSG §5H1.6. may be relevant in this case since, as is apparent from the

letters referenced above, Mr. Lewellen enjoys strong support from his family, and his

relationship with them, offers powerful motivation to Mr. Lewellen to deal with his

psychological problems.

             C. Relevant Sentencing Factors under 18 U.S.C. § 3553(a)

       Although the Court must consider the USSG, including the advisory guideline

range, 18 U.S.C. §3553(a)(4) & (a)(5), following United States v. Booker, 543 U.S. 220,

125 S. Ct. 738 (2005) and its progeny, the advisory guideline range is just one of several

factors the Court must consider to arrive at a sentence that is “sufficient but not greater

than necessary” to achieve the purposes of sentencing set forth in 18 U.S.C. § 3553(a).

These include consideration of:

       (1)     in addition to the nature and circumstances of the offense, the history and

characteristics of Mr. Lewellen 18 U.S.C. § 3553(a)(1); and

       (2)     the kinds of sentences available, 18 U.S.C. §3553(a)(3).

       The Court is also required by 18 U.S.C. 3553(a) to consider what sentence will:

“reflect the seriousness of the offense, … promote respect for the law, and … provide just

punishment for the offense”, 18 U.S.C. 3553(a)(2)(A); “afford adequate deterrence to

criminal conduct”, 18 U.S.C. 3553(a)(2)(B); “protect the public from further crimes of




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the defendant”, 18 U.S.C. 3553(a)(2)(C), and “provide the defendant with needed …

training, medical care, or other correctional treatment in the most effective manner”, 18

U.S.C. 3553(a)(2)(D).

       The sufficient-but-not-greater-than-necessary requirement, often referred to as the

“parsimony provision”, is not just another “factor” to be considered along with the others

set forth in Section 3553(a), but sets an independent limit on the sentence a court may

impose, to which all the enumerated factors are subservient.

       Moreover, 18 U.S.C. §3661 mandates that “[n]o limitation shall be placed on the

information concerning the background, character, and conduct of [the defendant] which

a court of the United States may receive and consider for the purpose of imposing an

appropriate sentence.”

       The [Sentencing] Commission has not developed any standards or
       recommendations that affect sentencing ranges for many individual
       characteristics. Matters such as age, education, mental or emotional
       condition, medical condition …, employment history, lack of guidance as
       a youth, family ties, or military, civil, charitable, or public service are not
       ordinarily considered under the Guidelines. See USSG. Manual §§ 5H1.1-
       6, 11, and 12 (Nov. 2006). These are, however, matters that § 3553(a)
       authorizes the sentencing judge to consider. See, e.g., 18 U.S.C. §
       3553(a)(1)).
       Rita v. U.S.,    U.S.      , 127 S.Ct. 2456, 2473 (2007) (Stevens, J. and
       Ginsburg, J., concurring). [emphasis added].

“[I]t is fair to assume that the Guidelines, insofar as practicable, reflect a rough

approximation of sentences that might achieve § 3553(a)’s objectives.” Id., at 2465

(majority opinion) (emphasis added). Thus, the Court may take into consideration that

the guideline sentence should not apply “because the Guidelines sentence itself fails

properly to reflect §3553(a) considerations...”       Id., at 2465.    The Supreme Court’s

decisions mean that “the standards governing departures do not bind a district court when




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employing its discretion with respect to variances.” U.S. v. Chase, 560 F.3d 828 (8th Cir.

2009) (case remanded to consider defendant’s characteristics which could warrant a

downward variance under §3553(a)).

   D. Analysis of 18 U.S.C. § 3553(a) Sentencing Factors Applicable to Defendant

       The history and characteristics of Mr. Lewellen are marked by:

        1) a lack of any paternal guidance;
        2) his mother’s inability to accept his sexual orientation;
        3) his internal conflict between his sincerely held religious convictions and his
sexual orientation;
        4) his lack of any or any significant criminal history and consequently his lack of
any prior experience of incarceration; and
        5) a psychological evaluation demonstrating that his psychological condition
combines a major depressive disorder with an anxiety disorder, renders him susceptible
to poor judgment and vulnerable to manipulation and victimization by others contributing
not only to his out-of-character criminal behavior but also the exacerbation of his
conditions while incarcerated, and yet also makes him receptive to treatment and
rehabilitation.

       Mr. Lewellen’s father never married his mother Barbara and their relationship

ended while Mr. Lewellen was just an infant. PSR, ¶31. Although he provided financial

support, Mr. Lewellen’s father has never been involved in Mr. Lewellen’s life or

provided any emotional support to him. Id.. See also, e.g., Letter of Larry D. Lewellyn

Esq. dated December 22, 2011, at page 2 (2nd to last page of First Addendum to PSR).

Indeed, it appears that it was only during his current incarceration that Mr. Lewellen’s

father told him that he loved him for the first time. Id..

       In spite of an otherwise positive relationship, Mr. Lewellen obviously struggles

with his mother’s inability to accept his sexual orientation. PSR, ¶33.

       As is apparent from the content of many of the letters of reference, Mr. Lewellen

has clearly been a faithful churchgoer for most, if not all, of his life and has been




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involved in many of his church’s activities, including Sunday School, Children’s

Ministry, and the Youth Gospel Choir.

          The undersigned has submitted to United States Probation the Report of Samuel

Roll, Ph.D.. A copy has also been provided to counsel for the Government. Dr. Roll’s

current Vitae was previously submitted to the Court as Exhibit 2 to the Ex Parte Motion

for his appointment. Dr. Roll’s Report is based upon the results and data he obtained

from interviews and a battery of psychological tests he conducted to evaluate Mr.

Lewellen.

          In summary, Dr. Roll found that Mr. Lewellen suffers from significant

psychological difficulties, which he diagnoses as a major depressive disorder …

exacerbated by the presence of a concomitant anxiety disorder.” Report, at 1 ¶1.        Dr.

Roll also found that Mr. Lewellen is “a good candidate for rehabilitation and … [a] low

risk for recidivism” because he does not suffer from any character disorder but manifests

“a significant collection of positive personality features ….” Report, at 3. [emphasis

added].      Dr. Roll believes that “[w]ith adequate therapy, [Mr. Lewellen] has a

moderately good prognosis for recovery or alleviation of his chronic mental deficits of

depression, anxiety, and attention deficit disorder.” Id.. [emphasis added].

          Dr. Roll refutes that Mr. Lewellen’s depression and anxiety is “simply the result

of his current life circumstances”, i.e. being in jail awaiting sentencing. Report, at 1 ¶1.

Dr. Roll believes the depression derives from Mr. Lewellen’s “abandonment by his

father, his rejection by his mother [because of his sexual orientation], and his own

struggles with his sexual identity and religious faith….” Id.. The chronic depression is




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exacerbated by an anxiety disorder. Id.. Both conditions are, in turn, exacerbated by,

rather than the result of, his “incarceration and legal difficulties.” Id..

        In the Report, Dr. Roll also found psychological factors that likely contributed to

his involvement in the offense for which he is to be sentenced, which the Probation

Officer had already noted as “aberrant behavior” warranting a variance at sentencing.

Several of those factors both explain Mr. Lewellen’s submission to manipulation that led

him into the offense conduct and also render incarceration more harmful to Mr. Lewellen

than it might be to others less vulnerable. Thus, Dr. Roll believes that Mr. Lewellen’s

“anxiety and inadequate social skills make him vulnerable to experiencing

embarrassment and failure in social situations” so that he is “at risk for … poor

judgment.” Report, at 1-2 ¶2. [emphasis added]. Mr. Lewellen “has a low self-concept”,

regarding other people as “more worthwhile than he is”. Id., at 2 ¶3. Mr. Lewellen had

attention deficit disorder as a child, which went untreated, leaving him as an adult with

“limited capacities for attention, concentration, and integration of information.” Id., at 2

¶4. Mr. Lewellen’s sexual orientation “combine[d] with his low self-concept, naïveté,

and his natural sensitivity and vulnerability … put him at high risk for victimization by

others.” Id., at 2 ¶5. [emphasis added].

        In spite of the unsatisfactory family history, Mr. Lewellen has previously avoided

criminal behavior. Having never previously experienced incarceration, Dr. Roll believes

that Mr. Lewellen has already received the full extent of any deterrent or beneficial effect

incarceration might work upon him. 1


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  In an April 13, 2012 telephone conference with undersigned counsel, Dr. Roll indicated that he was going
to supplement his Report with respect to the effect upon Mr. Lewellen of his incarceration and the
medications he is currently receiving as well as with respect to appropriate treatment(s). Undersigned
counsel has incorporated the substance of Dr. Roll’s observations in this Memorandum. Undersigned


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        Dr. Roll also found that Mr. Lewellen has a number of positive features to his

personality. Mr. Lewellen does not suffer from any psychological disorder that would

predispose him to a pattern of impulsive acting out, that he does not have an impulse

disorder, that he has neither a manic disorder nor a tendency to mania. Report, at 2 ¶1.

Mr. Lewellen does not have an anti-social personality or other character disorder that is

predictive of a repetitive pattern of disregard of the rights and needs of others. Report, at

2 ¶2. The absence of these characteristics, together with several positive personality

traits, cause Dr. Roll to believe Mr. Lewellen is unlikely to reoffend and should respond

well to appropriate treatment. Report, at 2-3 ¶¶3-6, and at 3.

        In contrast, there is no evidence that Mr. Lewellen’s mental difficulties would be

helped or his psychological strengths protected or reinforced in a prison setting. As

stated above, Dr. Roll believes that any benefit that might be derived from the shock of

incarceration already occurred many months ago. He also believes that the treatment of

Mr. Lewellen with just medication is helpful only to the extent of preventing further

deterioration to the level of crisis in Mr. Lewellen’s mental condition. In light of his

fragile psychological condition, incarceration has actually had a damaging effect,

exacerbating his pre-existing depression and anxiety, and resulting in accompanying

physical disorders and symptoms. Without appropriate treatment, it seems likely that Mr.

Lewellen’s mental difficulties would be further exacerbated by a further period of

incarceration.       Dr. Roll is convinced that the most appropriate treatment is

psychotherapy, particularly in light of the past experience of Mr. Lewellen receiving no

treatment for ADD because it required medication.


counsel has left voicemail reminding Dr. Roll of his undertaking to provide this supplemental report and
will forward it as soon as it is received.


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       Dr. Roll believes that, if Mr. Lewellen obtains treatment by adequate

psychotherapy, Mr. Lewellen has a good prognosis for recovery, which in combination

with his psychological strengths renders it even more unlikely that Mr. Lewellen would

repeat this kind of behavior in the future. Report, at 2-3 ¶¶3-6, and at 3.

       From the foregoing, Mr. Lewellen would respectfully submit that further

incarceration, either within or below the guideline range or at all, is not required to

“afford adequate deterrence to criminal conduct” by him as required 18 U.S.C.

3553(a)(2)(B). Mr. Lewellen would also respectfully submit that his incarceration would

have little deterrent effect on others. See e.g., U.S. v. Swift, 2008 WL 2906884 (N.D.Ind.

July 28, 2008) (court varied 10 months from guideline range to impose mandatory

minimum, citing, among other things, Defendant’s acceptance of responsibility, lack of

youthful guidance, and additional 10 months would serve no retributive purpose to

defendant, nor make any large difference in deterrence of others).

       Mr. Lewellen would also respectfully submit that, since the evidence from his

prior record and the psychological evaluation shows he is unlikely to commit further

offenses, incarceration is not required to “protect the public from further crimes of the

defendant”, 18 U.S.C. 3553(a)(2)(C). See e.g., U.S. v. Ross, 557 F.3d 237 (5th Cir.

2009)(appellate court reversed district court increase of below-guideline sentence

originally imposed, finding original sentence reasonable based on, among other things,

defendant’s lack of criminal history, strong family support and youth as mitigating

factors, and a psychiatrist’s evaluation defendant posed low likelihood of recidivism);

United States v. Gardellini, 545 F.3d 1089 (D.C. Cir. 2008)(upholding non-guideline

sentence of probation and a fine for defendant where guideline range was 10-16 months,




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because, among other things, defendant had accepted responsibility, was a minimal risk

of recidivism, and had already suffered substantially).

       Mr. Lewellen would also respectfully submit that incarceration would not

“provide the defendant with needed … training, medical care, or other correctional

treatment in the most effective manner”, 18 U.S.C. 3553(a)(2)(D). In fact, Mr. Lewellen

would also respectfully submit that further incarceration would delay his receiving

needed treatment in the most effective and timely manner

     E. Incarceration within or below Guideline Range Greater than Necessary
                          for 18 U.S.C. 3553(a) Purposes

       Thus, the final consideration required by 18 U.S.C. 3553(a) is what sentence will

“reflect the seriousness of the offense, … promote respect for the law, and … provide just

punishment for the offense”, 18 U.S.C. 3553(a)(2)(A). Incarceration is often an obvious

answer to this consideration. Mr. Lewellen does not minimize the seriousness of the

offense and the need to continue the interdiction of drugs being transported by couriers or

“mules” into the heartland. However, the conjunctive language of the statute requires

that the Court also consider what would be “just punishment” in all the circumstances.

       The guideline range sentence is greater than necessary to satisfy the purposes of

sentencing, and a variance is appropriate because, if Mr. Lewellen is imprisoned for any

further substantial period, it will likely be counter-productive. Mr. Lewellen would be

unlikely to receive appropriate treatment for the mental health conditions from which he

suffers, while continued confinement will further exacerbate those conditions.         Mr.

Lewellen would be isolated from his family which has shown a commitment to support

Mr. Lewellen through his legal and drug difficulties. Even the father that abandoned and

then ignored him may be at last making an effort to engage in his son’s life.



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       Mr. Lewellen has never previously been confined for any period. U.S. v. Cull,

446 F. Supp. 2d 961 (E.D. Wis. 2006) (non-guideline sentence of 2 months in jail and 4

months home confinement, where advisory range was 10-14 months for defendant who

had never been confined, was sufficient to impress on him seriousness of crime and deter

him from re-offending); U.S. v. Qualls, 373 F. Supp. 2d 873, 877 (E.D. Wis. 2005)

(generally lesser prison term is sufficient to deter one who has not been subject to prior

lengthy incarceration).

       Although the advisory guidelines do not authorize a sentence of probation,

PSR¶63, Mr. Lewellen is nevertheless eligible under 18 U.S.C. §3561 for probation for

the offense of conviction.    PSR¶65.     Therefore, that sentence is “available” under 18

U.S.C. §3553(a)(3). Alternatively, since Mr. Lewellen has already served a significant,

and he would submit sufficient, period of incarceration, this may be an appropriate

moment to conclude the punitive portion of his sentence and commence his treatement

and rehabilitation as part of his supervised release. Thus, Mr. Lewellen could receive

“just punishment for the offense” and receive “training, medical care [and] correctional

treatment”, but still be able to have a relationship with his supportive family.

                                        Conclusion

       For the reasons set forth herein, Defendant respectfully submits that the guideline

range sentence is greater than necessary to satisfy the purposes of sentencing in 18 U.S.C.

§3553(a). Indeed, Defendant respectfully submits that any sentence of imprisonment is

greater than necessary to satisfy those purposes, which may be met by a sentence that

does not require any further incarceration.




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                                    Respectfully submitted,

                                    ALLISON & FISHER

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                                 Certificate of Service

I hereby certify that the foregoing pleading and Exhibits were filed electronically
pursuant to CM/ECF procedures for the District of New Mexico, which caused the
following parties or counsel to be served by electronic transmission, as more fully
reflected by the Notice of Electronic Filing:


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And

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this 20th day of April, 2012.


/s/ Charles Fisher
Charles Fisher




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